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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




     LORA SMITH, et al.,                 CV 14-6668 DSF (PLAx)
           Plaintiffs,
                                         Order GRANTING Motion for
                     v.                  Reconsideration (Dkt. No. 84)

     BANK OF AMERICA, N.A.,
           Defendant.



        Defendant Bank of America, N.A. moves for reconsideration of
     the Court’s November 5, 2018 Order denying its motion to dismiss
     Plaintiff Cynthia Himple’s contract claims. The Court deems this
     matter appropriate for decision without oral argument. See Fed.
     R. Civ. P. 78; Local Rule 7-15. The hearing set for January 14,
     2019 is removed from the Court's calendar.

       Motions for reconsideration in the Central District of
     California:

          may be made only on the grounds of (a) a material
          difference in fact or law from that presented to the
          Court before such decision that in the exercise of
          reasonable diligence could not have been known to the
          party moving for reconsideration at the time of such
          decision, or (b) the emergence of new material facts or
          a change of law occurring after the time of such
          decision, or (c) a manifest showing of a failure to
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          consider material facts presented to the Court before
          such decision.

     L.R. 7-18.

        Defendant’s motion is based on an alleged “failure to consider
     material facts presented to the Court.” In its prior Order, a
     dispositive issue before the Court was whether unpaid accrued
     interest had been added to Himple’s loan principal. Himple’s
     Modification Agreement states:

          As of the 1st day of November 2011, the amount
          payable under the Note or Security Instrument (the
          “Unpaid Principal Balance”) is [illegible amount]
          consisting of the amount(s) loaned to Borrower by
          Lender which may include, but are not limited to, any
          past due principal payments, interest, fees, and/or
          costs capitalized to date.

     TAC Ex. F.¶ 1.

        The Court found that this language did not unambiguously add
     unpaid interest to principal because it only added interest
     “capitalized to date,” and the Court had not been shown where
     such interest had been previously capitalized. Order at 4.

        Defendant argues that the Court failed to consider Paragraphs
     3(B) and 3(C) of Himple’s original Note, which Defendant now
     claims is the source of the previous capitalization of the unpaid
     interest. It is understood in the summary judgment context that a
     court is “not required to comb the record to find some reason to
     deny a motion for summary judgment.” Forsberg v. Pac. Nw. Bell
     Tel. Co., 840 F.2d 1409, 1418 (9th Cir. 1988). Merely including
     facts or evidence somewhere in the record does not mean that it
     was presented a meaningful enough way that a court would be




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     obliged to consider it. There is no reason that the same principal
     should not hold in the context of a motion to dismiss.

        It is a close call whether the relevant portion of the Note was
     sufficiently “presented to the Court” in Defendant’s motion to
     dismiss so that reconsideration would be appropriate. Defendant
     did not rely on the paragraphs now cited in its argument. Instead,
     Defendant explicitly argued that interest was capitalized only at
     the time of modification:

          The “principal due under the Note” category is
          therefore made up of two components—unpaid or
          deferred interest that was capitalized into principal at
          modification (i.e., capitalized interest), and the
          principal at origination.

     Dkt. No. 75-1 at 14.

        However, Defendant did cite and briefly explain the paragraphs
     in the “Background” section of its opening brief:

          If Himple made a monthly payment less than the
          amount of interest due in that month, the unpaid or
          deferred interest would be added to and increase the
          “unpaid Principal” balance. (TAC Ex. D §§ 3(B)-(C).)

     Dkt. No. 75-1 at 9.

        The Court finds that this is just enough to qualify as “presented
     to the Court” for the purposes of reconsideration. Defendant is
     helped by the fact that the Court’s reasoning in the Order clearly
     implicates Paragraphs 3(B) and (C) and that the Court was
     expressly looking for something like those paragraphs when it was
     considering the motion to dismiss. Reconsideration is also more
     justified given that the issue is one of contract interpretation and
     the cited paragraphs are within one of the two critical contracts.



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     In short, given the central relevance of the paragraphs, the fact
     that they are in a key document and not an obscure part of the
     record, and that Defendant did, if in passing, refer to them, the
     Court will reconsider its Order to take the paragraphs into
     account.1

          The relevant portions of Himple’s Note state:

              Payment of the Minimum Payment amount will result
              in accrued but unpaid interest being added to
              Principal. The unpaid Principal and any accrued but
              unpaid interest will accrue additional interest at the
              rate then in effect.

     TAC Ex. 4 (Himple Note) ¶ 3(B).

              My monthly payment could be less than the amount of
              the interest portion of the monthly payment that would
              be sufficient to repay the unpaid Principal I owe at the
              monthly payment date in full on the Maturity Date in
              substantially equal payments. If so, each month that
              my monthly payment is less than the interest portion,
              the Note Holder will subtract the amount of my
              monthly payment from the amount of the interest
              portion and will add the difference to my unpaid
              Principal. The Note Holder also will add interest on the
              amount of this difference to my unpaid Principal each
              month. The interest rate on the interest added to
              Principal will be the rate required by Section 2 above.

     TAC Ex. 4 (Himple Note ¶ 3(C).

        These provisions unambiguously add any unpaid accrued
     interest to Himple’s principal when the interest is not paid in full

     1   Reconsideration also serves the interests of judicial economy.



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     at the monthly payment date. Therefore, the previously unpaid
     interest would have been “capitalized to date” as of the time of the
     Modification Agreement and included in the definition of “Unpaid
     Principal Balance.” And even if the Modification Agreement could
     possibly be seen as ambiguous because it only labels the listed
     items as part of the shorthand term “Unpaid Principal Balance”
     rather than explicitly stating that the listed items are part of
     principal, the Note itself had already unambiguously added
     unpaid, accrued interest to the principal in the provisions quoted
     above.

        Himple’s arguments to the contrary are not compelling.
     Himple believes that the last line of paragraph 3(C) of the Note –
     “The interest rate on the interest added to Principal will be the
     rate required by Section 2 above” – would be superfluous under
     Defendant’s interpretation. She argues that because the interest
     rate on principal is specified in the Note there would be no reason
     to separately specify the interest rate to be charged on interest
     that had become part of principal. This argument would be much
     more persuasive if paragraph 3(C) applied a different interest
     rate. Instead, the last line of that paragraph simply clarifies that
     the interest capitalized into principal will, in fact, be treated as
     principal and carry the same interest rate going forward.

        Himple also places undue importance on the use of the word
     “interest” in the last line of paragraph 3(C). The line says
     “interest added to Principal” not just “interest.” It is not clear
     what Himple thinks the line should say in order for Defendant’s
     interpretation to be valid. The drafter was not required to write
     “the part of the Principal that was interest but is now no longer
     interest and is, instead, now Principal.” It is clear and
     unambiguous what the intent and function of this line is and was.

       Himple also argues that current interest – interest accrued but
     not yet due to be paid – at the time of the loan modification had


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     not been added into principal by the Note or Modification
     Agreement yet was treated as principal by Defendant. Whatever
     the legal merit of this argument, Himple did not plead that she
     had any current interest at the time of the modification. 2 This
     argument is also outside of the scope of the motion for
     reconsideration and should have been raised in opposition to the
     original motion.

        The motion for reconsideration is GRANTED. Himple’s breach
     of contract, implied breach of the covenant of good faith and fair
     dealing, and declaratory relief3 claims are DISMISSED.

           IT IS SO ORDERED.


     Date: January 8, 2019                      ___________________________
                                                Dale S. Fischer
                                                United States District Judge




     2 Contrary to Himple’s assertion, footnote 5 of the Third Amended Complaint
     does not allege that Himple’s account included any current interest at the
     time of modification. It states: “Often the interest owed will be comprised
     both of past due interest as well as current interest, i.e. interest that has
     accrued, but where that month’s payment date has not yet arrived. However,
     even if a borrower was current prior to the modification, by the time the
     modification takes effect, interest will be owed because BANA required
     borrower not pay three payments and go into default in order to qualify for a
     modification.” TAC ¶ 7 n.5.
     3 The Court found in the original Order that “the [declaratory relief] claim is
     either based on a declaration of federal tax law, which the Court already
     found falls within the tax exception to the Declaratory Judgment Act, or it is
     based on the contract-related claims.” Order at 5.



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